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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



  In re Flint Water Cases.                       Judith E. Levy
                                                 United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

            OPINION AND ORDER GRANTING
 MOTION TO SEAL PORTIONS OF VNA’S OPPOSITION TO THE
          CLASS CERTIFICATION MOTION AND
               DAUBERT FILINGS [1366]

       Before the court is Defendant VNA’s motion to seal portions of the

 class certification opposition and related Daubert filings. (ECF No. 1366.)

 This information was designated as “confidential” or “highly confidential”

 under the parties’ protective order,1 and includes Plaintiffs’ contact

 information, minor children’s names, names of doctors, specific medical

 prescriptions, preexisting conditions not caused by exposure to Flint

 water, home photos, tax information, and financial information.



       1   This alone does is not a justification for sealing.
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 Plaintiffs agree with the requested relief. (ECF No. 1366, PageID.42227.)

 Defendant’s motion is granted for the reasons set forth below.

       Eastern District of Michigan Local Rule 5.3 governs civil material

 filed under seal.2 “There is a strong presumption in favor of open judicial

 records.” Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d

 299, 305 (6th Cir. 2016). A request to seal must be “narrowly tailored. . .

 in accord with applicable law.” E.D. Mich. LR 5.3(b)(2).

       The Court may grant a motion to seal “only upon a finding of a

 compelling reason why certain documents or portions thereof should be

 sealed.” Id. at (b)(3)(B)(i). Even if no party objects to a motion to seal, the

 “district court that chooses to seal court records must set forth specific

 findings and conclusions ‘which justify nondisclosure to the public.’”

 Shane Group 925 F.3d at 306 (citing Brown & Williamson Tobacco Corp.

 v. F.T.C., 710 F.2d 1165, 1176 (6th Cir. 1983)). The Court must make its

 decision based on the following three factors: “why the interests in

 support of nondisclosure are compelling, why the interests supporting




       2 Under Eastern District of Michigan Local Rule 5.3, “the unredacted version
 may be filed under seal for the limited purpose of resolving the motion to seal without
 a prior court order.” E.D. Mich. LR 5.3(b)(3)(A)(vi). VNA did so and the Court has
 reviewed the unredacted filings in making this decision. (ECF No. 1367.)
                                           2
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 access are less so, and why the seal itself is no broader than necessary[.]”

 Shane Grp., 925 F.3d at 306 (citing Brown & Williamson, 710 F.2d at

 1176).

       As to factors one and two—why the interests in nondisclosure are

 compelling, and why the interests supporting access are less so—VNA

 argues as follows. First, VNA argues that sealing this information would

 protect the privacy interests of participants and third parties. VNA also

 cites to other cases where similar information such as sensitive medical

 information and home addresses have been sealed. VNA has set forth

 compelling reasons for nondisclosure, at this stage of the litigation.

 Additionally, there is little or no interest to the public in individuals’

 preexisting conditions, children’s names, or the like. Nor has anyone

 opposed the motion or otherwise come forward with an indication that

 this information is in the public interest. Accordingly, VNA has met the

 first two Shane Group factors.

          VNA also satisfies the third Shane Group factor, namely, why the

 seal itself is no broader than necessary. VNA only seeks to seal by

 redacting only those portions that contain the private information, and

 not any other information. (See, e.g., ECF No. 1366-3, PageID.42442.)


                                       3
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 This request is narrowly tailored to cover only the sensitive information.

 Accordingly, VNA has met the third Shane Group factor.

       VNA’s request to seal portions of its filings and exhibits connected

 with VNA’s opposition to class certification and Daubert filings is

 granted.

       IT IS SO ORDERED.

 Dated: January 15, 2021                   s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge


                      CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on January 15, 2021.
                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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